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CSD 2065    [10/01/12]

Court Telephone: (619) 557-5620
Court Hours: 9:00am-4:00pm, Monday-Friday
www.casb.uscourts.gov
RICHARD M KIPPERMAN
P.O. BOX 3010
LA MESA, CA 91944
(619) 668-4500
Chapter 7 Trustee

          UNITED STATES BANKRUPTCY COURT
              SOUTHERN DISTRICT OF CALIFORNIA
    325 West F Street, San Diego, California 92101-6991

In Re

JAN BERNARD AUSDEMORE aka DBTI
dba DESIGN/BUILD TENANT IMPROVEMENT                                           BANKRUPTCY NO.   14-03693-MM7

                                                            Debtor.




                         TRUSTEE’S NOTICE OF PROPOSED ABANDONMENT OF PROPERTY


TO THE DEBTOR, ALL CREDITORS, AND OTHER PARTIES IN INTEREST:

        Pursuant to 11 U.S.C. § 554 and Federal Rule of Bankruptcy Procedure 6007(a), notice is hereby given that the
undersigned Trustee for the estate of the above-named debtor intends to abandon the following property:

PROPERTY TO BE ABANDONED:
Lawsuit: Ausdemore vs Nationwide Mutual Insurance Company, et al.; filed in the Superior Court of California, San Diego
County, Central Division, case number 37-2012-00102525-CU-CO-CTL




ESTIMATED VALUE OF THE PROPERTY:
Unknown


LIENS AGAINST THE PROPERTY:
Unknown



        The property is to be abandoned because:

              There is little or no equity in the property for the estate.

              Costs of collection or litigation will probably exceed any recovery.

              Preservation of the asset is burdensome to the bankruptcy estate.

              Other: Minimal or no projected benefit to creditors after costs of sale and administration.



        By abandoning the property, the Trustee is returning the property to the debtor because it cannot, for the reasons
stated above, be liquidated for the benefit of creditors. Requests for additional information about the proposed abandonment
should be directed to the Trustee named below.


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IF YOU OBJECT TO THE PROPOSED ABANDONMENT:

1.      YOU ARE REQUIRED to obtain a hearing date and time from the appropriate Courtroom Deputy for the judge
        assigned to this bankruptcy case. Determine which deputy to call by looking at the Bankruptcy Case No. in the
        caption on Page 1 of this notice. If the case number is followed by the letter:

                 -       MM      -        call (619) 557-7407       -       DEPARTMENT ONE (Room 218)
                 -       LA      -        call (619) 557-6594       -       DEPARTMENT TWO (Room 118)
                 -       LT      -        call (619) 557-6018       -       DEPARTMENT THREE (Room 129)
                 -       PB      -        call (619) 557-5157       -       DEPARTMENT FOUR (Room 328)
                 -       CL      -        call (619) 557-6019       -       DEPARTMENT FIVE (Room 318)

2.      WITHIN TWENTY-EIGHT (28)1 DAYS FROM THE DATE OF THIS NOTICE, you are further required to serve a copy
        of your DECLARATION IN OPPOSITION TO THE ABANDONMENT and separate REQUEST AND NOTICE OF
        HEARING [Local Form CSD 11842] upon the undersigned trustee, together with any opposing papers. A copy of
        these documents must also be served upon the United States Trustee at 402 W. Broadway, Suite 600, San Diego,
        CA 92101. The opposing declaration shall be signed and verified in the manner prescribed by Federal Rule of
        Bankruptcy Procedure 9011, and the declaration shall:

                 a.      identify the interest of the opposing party; and

                 b.      state, with particularity, the factual and legal grounds for the opposition.

3.      YOU MUST file the original and one copy of the Declaration and Request and Notice of Hearing with proof of service
        with the Clerk of the U.S. Bankruptcy Court at 325 West "F" Street, San Diego, California 92101-6991, no later than
        the next business day following the date of service.

       IF YOU FAIL TO SERVE YOUR "DECLARATION IN OPPOSITION TO THE ABANDONMENT" AND "REQUEST AND
NOTICE OF HEARING" within the 28-day1 period provided by this notice, NO HEARING SHALL TAKE PLACE, you shall lose
your opportunity for hearing, and the moving party may proceed to take the intended action.


Dated: December 3, 2014                                     /s/ Richard M Kipperman
                                                           Chapter 7 Trustee
                                                           Address:      P.O. Box 3010
                                                                         La Mesa, CA 91944

                                                           Phone No.: (619) 668-4500
                                                           E-mail:    teresaj@corpmgt.com




1
 If you were served electronically or by mail, you have three (3) additional days to take the above-stated actions as calculated
by Fed. R. Bankr. P. 9006(f).
2
 You may obtain Local Form CSD 1184 from the office of the Clerk of the U.S. Bankruptcy Court.

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